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                                                    U.S. Department of Justice


                                                    United States Attorney
                                                    Eastern District of New York
DMP:CRH/MAA                                         271 Cadman Plaza East
F.#2017R01183                                       Brooklyn, New York 11201

                                                    December 13, 2022

By ECF & Email

The Honorable Ann M. Donnelly
United States District Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

               Re:     United States v. Parveg Ahmed
                       Docket No. 17-CR-378 (AMD)

Dear Judge Donnelly:

                The government respectfully submits this letter regarding the sentencing of
defendant Parveg Ahmed scheduled for December 20, 2022. On June 20, 2018, the defendant
pleaded guilty, pursuant to a plea agreement, to a single-count indictment (the “Indictment”)
charging him with attempting to provide material support to the Islamic State of Iraq and al-Sham
(“ISIS”), a designated foreign terrorist organization (“FTO”), in violation of 18 U.S.C. § 2239B.

               The government respectfully submits that the Court should sentence the defendant
within the applicable recommended Guidelines range, which in this case is 240 months’
imprisonment. A sentence within the Guidelines range is both appropriate and necessary here. As
detailed below, as well as in the defendant’s guilty plea and the Presentence Investigation Report
(“PSR”), the defendant and a co-conspirator whom he recruited traveled from the United States to
Saudi Arabia and then Jordan en route to Syria. But for their apprehension, the defendant and his
co-conspirator would have completed their journey to join ISIS in Syria to become, in the
defendant’s own words, “shuhada” – martyrs – for the terrorist group. A Guidelines sentence is
necessary both to prevent this defendant from engaging in future terrorist activity and to deter
others from attempting to do the same.
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   I.      Background

                The following information is taken from the PSR and other evidence gathered as
part of the investigation and prosecution of the defendant.

               A.       The Defendant’s Attempt to Provide Material Support to ISIS

                        1.    The Defendant’s Radicalization

                Beginning at least as early as 2014, the defendant adopted a radical form of Islam
and began publicly expressing his support for ISIS online. ISIS is an FTO that, since 2013, has
conducted numerous terrorist attacks around the world in furtherance of its goal of forming an
Islamic state, also referred to as a “caliphate” or “khilafah” by ISIS supporters. At various times,
ISIS has controlled territory in Syria, Iraq, and Libya, and it maintained a presence in other
countries as well. ISIS has executed and claimed credit for numerous deadly terrorist activities,
including attacks against Americans in the United States and against Westerners abroad, and it was
the deadliest terrorist organization in the world between 2014 and the end of the Indictment period,
during which the defendant sought to join and die for the group.

              Beginning in October 2014, the defendant repeatedly expressed his support for ISIS
on social media. For example, between October 2014 and March 2015, the defendant wrote the
following on social media:

                    •   Who are Jihadis? Muslims who fight to establish the Sharia
                        IN THEIR OWN LANDS, wanted by MAJORITY of the
                        people. USA are the real terrorists.

                    •   The side of Good is Islam & the Caliphate[.] If you’re not
                        with the Muslims, you’re ignorantly, irrelevantly, &
                        arrogantly on the side of Evil.

                    •   The war on the Islamic State is a war on the ideologies:
                        Democracy/Capitalism v. Shariah Media propaganda/lies
                        vilifying the enemy ‘ISIS’.

PSR ¶ 4 (emphasis in original).

                By March 2015, during the period the defendant repeatedly praised ISIS online,
ISIS had already engaged in a litany of mass-publicized, deadly terrorist attacks on innocent
civilians, including numerous mass-casualty bombings in Iraq that killed more than 1,000 people
and multiple video-recorded beheadings of journalists, including Americans, which ISIS then used
as propaganda tools to recruit more jihadis to kill for it. To cite just one example, in February
2015, ISIS released online a graphic video of its members burning to death in a cage a captured
Jordanian pilot, which ISIS used as a recruitment tool and which was widely publicized in media
around the world. Additionally, and as detailed in the PSR, during this same period the defendant


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was consuming violent jihadist propaganda online, including sermons by the radical Islamist
extremist cleric Anwar al-Awlaki. See id.

               On or about January 27, 2016, the defendant was interviewed by law enforcement
officials regarding his concerning statements in support of ISIS and radical jihadism. The
defendant initially denied posting statements in support of ISIS or other Jihadist movements, but
after being confronted with some of the specific statements found on the defendant’s social media,
the defendant admitted to making these statements. The defendant claimed that the statements
were made at a low point in his life and at a time when he was smoking a large amount of
marijuana. See id. at ¶ 5.

                Subsequent investigation revealed that, in addition to using social media to
proselytize in support of ISIS and its radical jihadist beliefs, the defendant also tried to convert his
own family to ISIS’s cause. As detailed in the government’s May 2020 memorandum in support
of the defendant’s detention (ECF No. 33), the defendant’s family members explained that the
defendant grew more devoutly religious than typical for their family, grew a beard that is consistent
with a more strict interpretation of Islamic law, and engaged in other strict religious practices. The
defendant attempted to convince his family to move to ISIS-controlled territory in the Middle East.
He informed his family members, in sum and substance, that it would be better for his family to
live in ISIS-controlled territory, and that he believed the Quran required them to live in ISIS-
controlled territory. The defendant also told his family members, in sum and substance, that “there
was legitimacy to [ISIS’s] violence upon people.” At least one family member also observed the
defendant watching what appeared to be an ISIS propaganda video involving individuals being
burned to death.

               In June 2017, the defendant flew from the United States to Saudi Arabia. After the
defendant arrived in Saudi Arabia in the summer of 2017, he feigned illness to his travel
companions and, along with another co-conspirator who the defendant recruited, he attempted to
travel to ISIS-controlled territory in Syria to join, fight and die for ISIS. See PSR ¶¶ 6-7. The
defendant was stopped and detained after he and his co-conspirator crossed into Jordan, en route
to Syria.

                Devices recovered from the defendant and his co-conspirator revealed violent ISIS-
associated images, including a photo of five men hanging by their necks with the caption “Gay
men to be hanged,” as well as texts justifying the September 11, 2001 World Trade Center attacks
and a photo of ISIS’s then-leader Abu Bakr al-Baghdadi. One of the devices recovered from the
defendant and his co-conspirator contained messages to third parties indicating their desire to
“make hijrah,” the term used by jihadist extremists to travel to ISIS-controlled territory, as well as
a message stating “[W]e have made it to Dawlatul Islam [ISIS] in Syria. In sha Allah [God willing]
we will join the Jihad very soon and in Sha Allah [God willing] we will then join the ranks of the
Shuhada [martyrs]. The West has invaded the land of the Muslims and is constantly attacking it.”
See id. at ¶ 7. By the middle of 2017, the defendant, who was steeped in the knowledge of ISIS,
its propaganda and its extraordinary violence, knew exactly how lethal the group was and what it
meant to join and fight for ISIS.



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             After initially being detained abroad, the defendant was arrested by FBI agents at
John F. Kennedy Airport on or about August 28, 2017. He pleaded guilty to the Indictment in
June 2018.

   II.     Applicable Law

                It is settled law that “a district court should begin all sentencing proceedings by
correctly calculating the applicable Guidelines range. As a matter of administration and to secure
nationwide consistency, the Guidelines should be the starting point and the initial benchmark.”
Gall v. United States, 552 U.S. 38, 49 (2007) (citation omitted). Next, a sentencing court should
“consider all of the § 3553(a) factors to determine whether they support the sentence requested by
a party. In doing so, [it] may not presume that the Guidelines range is reasonable. [It] must make
an individualized assessment based on the facts presented.” Id. at 50 (citation and footnote
omitted). “When a factor is already included in the calculation of the [G]uidelines sentencing
range, a judge who wishes to rely on that same factor to impose a sentence above or below the
range must articulate specifically the reasons that this particular defendant’s situation is different
from the ordinary situation covered by the [G]uidelines calculation.” United States v. Sindima,
488 F.3d 81, 87 (2d Cir. 2007) (quotation omitted, alterations in original). “[W]here the sentence
is outside an advisory Guidelines range, the court must also state ‘the specific reason’ for the
sentence imposed, in open court as well as in writing – ‘with specificity in a statement of reasons
form’ that is part of the judgment.” United States v. Aldeen, 792 F.3d 247, 251-252 (2d Cir. 2015),
as amended (July 22, 2015) (quoting 18 U.S.C. § 3533(c)(2)).

               Title 18, United States Code, Section 3553(a) provides that, in imposing sentence,
the Court shall consider:

               (1) the nature and circumstances of the offense and the history and
               characteristics of the defendant;

               (2) the need for the sentence imposed –

               (A) to reflect the seriousness of the offense, to promote respect for
               the law, and to provide just punishment for the offense;

               (B) to afford adequate deterrence to criminal conduct; [and]

               (C) to protect the public from further crimes of the defendant.

              At sentencing, “the court is virtually unfettered with respect to the information it
may consider.” United States v. Alexander, 860 F.2d 508, 513 (2d Cir. 1988). Indeed, 18 U.S.C.
§ 3661 expressly provides that “[n]o limitation shall be placed on the information concerning the
background, character, and conduct of a person convicted of an offense which a court of the United
States may receive and consider for the purpose of imposing an appropriate sentence.”

               Thus, the Court must first calculate the correct Guidelines range, and then apply the
3553(a) factors to arrive at an appropriate sentence, considering all relevant facts. To the extent


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there remain any open issues as to the correct Guidelines range, the Court should first make any
necessary finding to arrive at the correct range. Nevertheless, however the Court arrives at the
correct Guidelines range, it still must fashion a sentence that meets the criteria of Section 3553(a)
under the specific facts of this case.

   III.    The Advisory Guidelines Sentence

              In the PSR, the United States Probation Department (“Probation”) calculated the
defendant’s advisory Guidelines sentencing range as follows:

               Base Offense Level (U.S.S.G. § 2M5.3)                                         26

               Plus: Material Support with Intent, Knowledge or
                     Reason to Believe They Were To Be Used
                     to Commit Violent Act (§ 2M5.3(b)(1)(E))                               +2

               Plus: Terrorism Enhancement (§ 3A1.4(a))                                    +12

               Plus: Organizer/Leader Enhancement (§ 3B1.1)                                 +2

               Minus: Timely Acceptance of Responsibility (§ 3E1.1(a)-(b))                   -3

               Total Offense Level                                                           39

See PSR ¶¶ 15-24. Probation also correctly determined that the defendant’s criminal history
category is VI because the offense involved, or was intended to promote, a federal crime of
terrorism. See id. at ¶ 27 (citing U.S.S.G. § 3A1.4(b)). Thus, the defendant’s advisory Guidelines
range is 360 months to life imprisonment. See id. at ¶ 61. Because the count of conviction has a
statutory maximum sentence of 240 months (20 years), the defendant’s effective Guidelines range
is 240 months’ imprisonment. See id.

                The defendant disputes the application of the organizer enhancement. See Def.’s
Sent Mem at 7 n.6. Because the application of the enhancement will not alter the defendant’s
Guideline range – without this enhancement, the applicable Guidelines range would still be 360
months to life, and the effective range still 240 months – the Court does not need to definitively
resolve whether the enhancement applies. Cf. United States v. Crosby, 397 F.3d 103, 112 (2d Cir.
2005) (explaining that Court need not resolve Guideline issue where it determines it would not
affect its sentencing determination). However, as discussed further below, the government
respectfully submits that the defendant’s more substantial role in the criminal conduct, relative to
the role of his co-defendant, is one of the factors that the Court should consider in imposing a
Guidelines sentence of 240 months.

   IV.     The Court Should Sentence The Defendant To A Guidelines Sentence

               The sentence imposed on the defendant must reflect the seriousness of the conduct,
deter the defendant specifically from committing further crimes, deter others from traveling to join

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foreign terrorist groups such as ISIS and conducting attacks on behalf of or at the direction of
terrorist groups, and promote respect for the law. Each of these factors strongly supports a
Guidelines sentence of 20 years’ imprisonment for the defendant.

                As the facts described above indicate, the criminal conduct at issue is exceptionally
serious. The defendant’s support for ISIS amounted to far more than that of a confused young
person malcontented with the politics in the United States, as the defendant claimed in his self-
serving January 2016 interview with the FBI – the same interview in which the defendant also lied
about his pro-ISIS social media activity. The defendant put his support for the deadliest terrorist
organization in the world into action; he did not just post support for the group, he sought to convert
his family to ISIS’s cause. Following that, he recruited a co-conspirator with a documented history
of mental health issues to travel abroad to join ISIS with him. The defendant then took the final
steps toward fulfilling his goal, breaking free from his family on their trip to Saudi Arabia,
traveling from Saudi Arabia to Jordan, and seeking to continue on to ISIS-controlled territory in
Syria with the co-conspirator he had recruited. The writings recovered from the defendant’s and
his co-conspirator’s devices following their arrest leave no ambiguity about their plan; it was to
join, fight and die for ISIS as “martyrs” – people killed in the name of ISIS. In short, the
defendant’s crime is extraordinarily serious and alone supports a Guidelines sentence as both
necessary and appropriate.

               The sentence in this case should also be sufficiently serious to deter the defendant
from committing future crimes, as well as to deter others contemplating similar criminal conduct
from joining a foreign terrorist organization to wage violent jihad. While the defendant’s current
work with a counselor associated with the DEEP program during his pre-sentence detention is a
potential step toward the defendant’s ultimate rehabilitation, it is also worth noting that the
defendant previously falsely feigned a lack of interest in ISIS before attempting to join the group.
Indeed, as detailed in the PSR, the defendant in January 2016 indicated to FBI agents that he did
not have an interest in ISIS and that he had been drawn to the terrorist group and its online
propaganda material when he was at a low point in his life. See PSR ¶ 5. Approximately 18
months after he portrayed himself as a victim of ISIS propaganda no longer interested in the group,
the defendant recruited his co-conspirator to join him in traveling abroad to join, fight and die as
a martyr for ISIS, with the stated goal of “join[ing] the jihad” and “join[ing] the ranks” of ISIS’s
martyrs. Accordingly, the defendant’s recent claimed strides at rehabilitation – while admirable if
true – must be considered in the context of his prior false disavowals of ISIS.

                The defendant disputes the characterization that he recruited his co-conspirator, but
the facts bear this out. The defendant became radicalized and intent on supporting ISIS in 2014.
It was not until 2017, after his original (and false) disavowal of the FTO, that the defendant
involved his co-conspirator in the plan to join up with ISIS in Syria. The device primarily used by
the conspirators to make contact with other ISIS supporters, and to write their joint martyrdom
letter, belonged to Ahmed. Thus, while the co-conspirator bears his own substantial culpability
for his conduct, the facts demonstrate that the defendant involved his co-conspirator in this scheme,
and doing so should weigh in favor of a serious, Guidelines sentence.




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                  and the difficulty of deterring and rehabilitating the criminal.”
                  Moreover, when it comes to sentencing terrorism, Congress and the
                  United States Sentencing Commission “plainly intended for the
                  punishment of crimes of terrorism to be significantly enhanced
                  without regard to whether, due to events beyond the defendant's
                  control, the defendant's conduct failed to achieve its intended deadly
                  consequences.” Thus, in determining what constitutes a “sufficient”
                  sentence for a terrorist defendant whose conduct did not result in
                  death or physical injury, a sentence at the high end of the applicable
                  range may plainly be reasonable if supported by the balance of
                  § 3553(a) factors.

United States v. Mumuni Saleh, 946 F.3d 97, 112-13 (2d Cir. 2019). The government respectfully
submits that, consistent with the Circuit’s guidance, a Guidelines range is an appropriate sentence
in this case.

      V.      Conclusion

               In sum, the need for punishment for the defendant’s offense, the need for specific
as well as general deterrence and the need to protect the public compels a Guidelines sentence of
20 years’ imprisonment here. The government respectfully requests that the Court impose such
sentence.



                                                        Respectfully submitted,

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                                                        United States Attorney

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